IT IS HEREBY ADJUDGED and DECREED that the
below described is SO ORDERED.


Dated: September 11, 2019.

                                                          __________________________________
                                                                 H. CHRISTOPHER MOTT
                                                          UNITED STATES BANKRUPTCY JUDGE
________________________________________________________________


United States Bankruptcy Court for the Western District of Texas/El Paso Division

 STUART C. COX, CHAPTER 13 TRUSTEE
 1760 N. Lee Trevino Drive
 El Paso, TX 79936                                     Case Number: 19-30710-HCM Chapter 13

                                                              ORDER CONFIRMING THE PLAN

 IN RE: CONNIE GOMEZ RIVAS

         3711 CHESTER AVE
         EL PASO, TX 79903

 Debtor's SSN: ###-##-4721                             WATSON LAW FIRM, P.C.
                                                       1123 E. RIO GRANDE
                                                       EL PASO, TX 79902-0000



                                   ORDER CONFIRMING THE PLAN

The Debtor represents in order to obtain plan Confirmation that the Chapter 13 Plan of Debtor(s) (hereinafter
"Debtor") has been transmitted to all creditors. Further the Debtor represents that the Debtor's plan, or
amended plan filed on 08/14/2019, and hereafter referred to as the plan, satisfies the requirements of 11
U.S.C. § 1325.

        Accordingly, it is ORDERED that

        (1) The Chapter 13 Plan is confirmed.

        (2) Unless otherwise provided below or by other Court order, property of the estate shall not revest
            in Debtor until the earlier of discharge of Debtor or dismissal of the case; and

        (3) Notwithstanding any provision of the plan, a creditor must timely file a proof of claim with the
            clerk of Court in order to receive a distribution under this plan.
        (4) Miscellaneous Provisions (if Applicable).

The Clerk is directed to serve a copy of this Order upon Debtor(s), counsel for Debtor(s), the Trustee, and all
creditors and parties who have filed a notice of appearance in the case.

        IT IS SO ORDERED.


                                                     ###

Confirmation Recommended by

/s/ Stuart C. Cox
STUART C. COX, CHAPTER 13 TRUSTEE
1760 N. Lee Trevino Drive
El Paso, TX 79936
